Case 1:03-cV-OO439-DWI\/| ECF No. 81 filed 10/26/04 Page|D.853 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

TIMOTHY J. RYAN and
CHRISTINE A. RYAN,
Case No. l:O3-CV-439
Plaintiffs,
Hon. David W. McKeague
v.

ADELE MCGINN-LOOMIS and
MARY BENEDICT,

Defendants.

 

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STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
AND WITHOUT COSTS AND ATTORNEY'S FEES

Case 1:03-cV-OO439-DWI\/| ECF No. 81 filed 10/26/04 Page|D.854 Page 2 of 3

The parties, through their respective attorneys, stipulate and agree to entry of an Order

dismissing Plaintiffs' Complaint as amended, in its entirety, with full prejudice, With each party

to bear its own costs, expenses and attorney's fees. No party shall be considered to be a

prevailing party for purposes of 42 USC § 1988 or otherwise

IT IS SO STIPULATED AND AGREED.

Dated; V/§j A!
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Dated: /§/!;//j(

Dated:

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Case 1:O3-cV-OO439-DWI\/| ECF No. 81 filed 10/26/04 Page|D.855 Page 3 of 3

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IT IS SO ORDERED.

Dated:

 

 

Hon. David W. McKeague
District Judge

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